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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

NATHSON E. FIELDS,                                   )
                                                     )
                        Plaintiff,                   )
                                                     )
                v.                                   )   Case No. 10 C 1168
                                                     )
CITY OF CHICAGO, et al.,                             )   Judge Matthew F. Kennelly
                                                     )
                        Defendants.                  )   Magistrate Judge Geraldine Soat Brown

     DEFENDANT DANIEL BRANNIGAN’S MOTION FOR DIRECTED VERDICT

        Defendant, Daniel Brannigan, by his attorney, Terrence M. Burns of Dykema Gossett,

PLLC, for his motion for directed verdict under Rule 50 (a) on plaintiff’s claims against him,

states as follows:

        Plaintiff has presented his case in chief. Plaintiff has failed to present legally sufficient

evidence for the jury to find that Brannigan violated plaintiff’s constitutional rights, maliciously

prosecuted plaintiff or is liable for intentional infliction of emotional distress against plaintiff.

                                             STANDARD

        A judgment can be entered as a matter of law if during a trial by jury a party has been

fully heard on an issue and there is no legally sufficient evidentiary basis for a reasonable jury to

find for that party on an issue. Fed. R. Civ. P. 50(a). The evidence must be viewed in the light

most favorable to the non-moving party and the Court must determine whether the evidence is

sufficient to sustain a verdict in favor of the non-moving party. Hammond Group, Ltd. v.

Spalding & Evenflo Companies, Inc., 69 F.3d 845, 848 (7th Cir. 1995).
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                                             DISCUSSION

I.       Plaintiff Has Failed to Prove His Due Process Claim Against Defendant Brannigan.

         Plaintiff asserts a due process claim against Brannigan based in part on his alleged

suppression of exculpatory evidence from the Smith/Hickman homicide investigation. However,

plaintiff has presented no evidence to support this claim against Brannigan.1

         There is no evidence Brannigan had any involvement in the initial 1984 CPD

investigation of the Smith/Hickman murders. As he testified, Brannigan was a Gang Crimes

Specialist detailed to the ATF and not a homicide detective. The only act that connects

Brannigan to the Smith/Hickman investigation was his recruitment of Anthony Sumner to

cooperate with authorities. It was Sumner who provided the initial information linking plaintiff

to the Smith/Hickman murders. Brannigan’s recruitment of Sumner was related to his work for

the Task Force investigating the El Rukn street gang, and not as part of the Smith/Hickman

murder investigation.

         There has been no evidence to support the claim that repeated requests were made to

Brannigan for materials pertaining to the Smith/Hickman homicide and that he failed to provide

that information to plaintiff. Plaintiff similarly lacks any evidence linking Brannigan to the

Subject File. Brannigan’s testimony during plaintiff’s case in chief that he never saw the subject

file prior to this civil lawsuit is unrebutted.

         Plaintiff’s due process claim also alleges Brannigan improperly coerced government

witnesses Anthony Sumner and Earl Hawkins. Plaintiff specifically contends Brannigan coerced


         1
          Plaintiff’s due process claim also fails as against all City Defendants because, as addressed in
the City Defendants’ Motion for Directed Verdict, plaintiff has not presented any evidence that the
prosecutors’ decision to go to trial would have been altered by the disclosure of the alleged Brady
material—the so-called “street file.” Should the Court decline to enter a directed verdict on that basis, the
claim against Brannigan fails for the reasons set forth here.



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Sumner to falsely implicate Plaintiff in the Smith/Hickman and Vaughn/White murders. Plaintiff

had alleged Brannigan, along with ASA Kelley, “cut a deal” with Hawkins to obtain perjured

testimony at Fields’ retrial, but plaintiff has presented no evidence of this.

       Plaintiff also has not presented any evidence Brannigan improperly coerced Sumner to

falsely implicate plaintiff in the Smith/Hickman murders. Following the raid of the El Rukn safe

house in East Cleveland, Sumner told Brannigan he would cooperate with authorities regarding

El Rukn activities.

       Although Sumner provided a statement to El Rukn attorneys William Swano, Earl

Washington, and Fred Solomon suggesting police officers beat and threatened him unless he

cooperated, which this Court initially admitted under the residual hearsay exception, subsequent

evidence has shown the statement is not reliable and should be rejected as evidence of

misconduct by Brannigan. Rule 807 permits admission of hearsay if (i) it is particularly

trustworthy; (ii) it bears on a material fact; (iii) it is the most probative evidence addressing that

fact; (iv) its admission is consistent with the rules of evidence and advances the interests of

justice; and (v) its proffer follows adequate notice to the adverse party. Fed. R. Evid. 807. As the

evidence developed at trial has established, the out of court statement is simply not “particularly

trustworthy.” Sumner testified in court that his statement about Brannigan to the El Rukn

attorneys was untrue. Sumner testified he was brought to the meeting with Swano by El Rukn

General Sammy Knox. Sumner testified he had been instructed by the El Rukn hierarchy to

“make something up” to explain his cooperation with authorities. (Exhibit A, Sumner June 1986

Trial Testimony at 282-284.) Sumner has never recanted that aspect of his testimony. Brannigan

testified he never beat Sumner nor threatened him in order to obtain his agreement to cooperate

and there has been no evidence to the contrary. Defendant Wharrie also testified that he never




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saw or heard Brannigan beat or threaten Sumner during the time he was present with Brannigan

and Sumner in East Cleveland. Wharrie also testified he never saw any signs or physical

evidence that Brannigan beat or mistreated Sumner in East Cleveland. As the evidence has

shown, despite assurances attributed to Sumner in the statement that he would review and sign

the statement, and the presence of a signature line, Sumner never signed the statement to Swano.

The statement was not given under oath and the only sworn testimony from Sumner is that

Brannigan did not coerce him. Additionally, the recording of the statement no longer exists.

        There has been no credible evidence presented by plaintiff establishing Brannigan

coerced Sumner or any other witness to falsely implicate Fields in the Smith/Hickman or

Vaughn/White murders.

       Plaintiff also alleged the State’s Attorney’s Office entered into an agreement with

Hawkins in which Hawkins agreed to give false testimony against plaintiff at the retrial. That

allegation does not appear to be directed against Brannigan, and in any event, plaintiff has

presented no evidence of an agreement between the State and Hawkins wherein Hawkins agreed

to give false testimony. There is no evidence to support the assertion Brannigan (or anyone else)

“knew” Hawkins’ testimony at the 2009 retrial would be false. In fact, plaintiff has presented no

evidence whatsoever regarding this aspect of his claim.

       Finally, plaintiff has failed to present any evidence Brannigan was involved in the

subornation of perjury from Hawkins. Plaintiff has not presented any evidence that Hawkins

perjured himself regarding Plaintiff’s involvement in the Smith/Hickman murders.

       Plaintiff has failed to present sufficient evidence of a due process violation by Brannigan,

whether based on the alleged suppression of evidence, improper coercion of a witnesses, or




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fabrication of evidence2. Brannigan is entitled to a directed verdict on the due process claim

against him.

II.    Plaintiff Has Failed to Prove His Malicious Prosecution Claim Against Defendant
       Brannigan.

       To prove his claim for malicious prosecution under Illinois law, plaintiff must prove (1)

the commencement or continuation of a prior criminal proceeding by the defendant against him;

(2) a termination “on the merits” of the prior proceeding in a manner indicative of his innocence;

(3) a lack of probable cause for the prior proceeding; (4) malice; and (5) damages that

proximately result to plaintiff from the alleged misconduct. Joiner v. Benton Community Bank,

82 Ill. 2d 40, 45, 411 N.E.2d 229 (1980). Because plaintiff has failed to present evidence in

support of several of these required elements, a directed verdict should be entered in favor of

Brannigan on the malicious prosecution claim.

       First, there is no evidence Brannigan commenced or continued criminal proceedings

against plaintiff. A malicious prosecution claim can only be asserted where it is alleged that a

police officer’s “participation in [the prosecution] was so active and positive a character as to

amount to advice and cooperation.” Bergstrom v. McSweeney, 294 F.Supp.2d 961, 968 (N.D. Ill.

2003). See also Frye v. O’Neill, 166 Ill. App. 3d 963, 975, 520 N.E.2d 1233 (4th Dist. 1988)

(Liability for malicious prosecution “extends to all persons who played a significant role in

causing the prosecution of the plaintiff”).

       Second, even assuming, arguendo, Brannigan could be said to have “commenced” or

“continued” the criminal prosecution of Fields, he would still be entitled to a directed verdict.
       2
           Plaintiff has not specifically alleged Brannigan committed a Brady violation by failing to
disclose the alleged coercion of Sumner, but even if such a claim were considered, Defendant Brannigan
would be entitled to a directed verdict. Plaintiff was aware of Sumner’s recant to Swano and the
allegations against Brannigan contained therein prior to the 1986 trial. Furthermore, the alleged
misconduct is claimed to have occurred when ASA Wharrie was present, so Brannigan could not have
withheld such information from prosecutors.



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Plaintiff’s malicious prosecution claim fails due to the existence of probable cause for plaintiff’s

prosecution. Probable cause is an absolute bar to a claim for malicious prosecution. Swick v.

Liautaud, 169 Ill. 2d 504, 512, 662 N.E.2d 1238 (1996). For purposes of an Illinois malicious

prosecution claim, probable cause is a “state of facts that would lead a person of ordinary caution

and prudence to believe, or to entertain an honest and strong suspicion, that the person arrested

committed the offenses charged.” Johnson v. Target Stores, Inc., 341 Ill. App. 3d 56, 72, 791

N.E.2d 1206 (1st Dist. 2003).

        Prior to the 1986 trial, there was sufficient evidence to support a police officer’s honest

and strong suspicion Fields was involved in the Smith/Hickman murders. Anthony Sumner

provided a significant amount of information to investigators and prosecutors regarding El Rukn

criminal activities, including the involvement of Fields and Hawkins in the Smith/Hickman

murders. As set forth above, plaintiff has not presented any evidence that Brannigan improperly

threatened or beat Sumner into providing this information. As to Smith/Hickman, Sumner never

recanted his trial testimony that plaintiff was involved. There was no reason to disbelieve

Sumner regarding Smith/Hickman, and Sumner was not the only witness linking plaintiff to

those murders prior to the 1986 trial. Eyewitnesses to the shootings, including Randy Langston,

who testified to this during plaintiff’s case, Eric Langston, and Gerald Morris, identified plaintiff

as being involved. Defendant Brannigan was entitled to rely on other officers’ reports detailing

these eyewitnesses’ identifications of plaintiff as one of the shooters. All of this information

supported a reasonable belief that plaintiff was involved in the Smith/Hickman homicides3.


        3
          As to Vaughn/White, Sumner did not admit until late 1991 and January 1992 that he falsely
implicated Fields in those murders. Sumner never told police before that time plaintiff was not involved.
Sumner had admitted he was present during those murders and implicated himself in their commission.
Everything else Sumner told police about the Vaughn/White murders appeared to be accurate. The
information provided by Sumner in 1985 was so convincing it caused the State to drop charges against
two other suspects previously charged in the Vaughn/White murders. For purposes of probable cause,


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III.    Plaintiff Has Failed to Prove His Intentional Infliction of Emotional Distress Claim
        Against Defendant Brannigan.

        Under Illinois law, three elements are necessary to state a claim for intentional infliction

of emotional distress (“IIED”):

                First, the conduct involved must be truly extreme and outrageous.
                Second, the actor must either intend that his conduct inflict severe
                emotional distress, or know that there is at least a high probability
                that his conduct would cause severe emotional distress. Third, the
                conduct must in fact cause severe emotional distress.

Feltmeier v. Feltmeier, 207 Ill.2d 263, 798 N.E.2d 75 (2003). To the extent plaintiff has failed to

establish evidence of a due process claim, or that Brannigan otherwise had personal involvement

in a willful violation of his constitutional rights, or that Brannigan maliciously prosecuted him,

plaintiff likewise has failed to present evidence of extreme or outrageous conduct sufficient to

support a claim for IIED against Brannigan. Cooney v. Casaday, 746 F. Supp. 2d 973, 977-78

(N.D. Ill. 2010) (Without evidence of misconduct on a defendant’s part, summary judgment is

appropriate on an IIED count that is based on the same conduct underlying plaintiff’s §1983

claim). To the extent Brannigan is entitled to a directed verdict against plaintiff on the other

claims against him, he is also entitled a directed verdict on plaintiff’s IIED claim.

        WHEREFORE, defendant, the City of Chicago, respectfully requests that this Court grant

its motion for a directed verdict against plaintiff as to all claims against Defendant Brannigan

and for any other relief this Court deems appropriate.




everything Sumner initially told Brannigan and the other investigators about the Vaughn/White murders,
including that plaintiff was involved, would have led a person of ordinary caution to believe, or entertain
an honest and strong suspicion, he was being truthful.




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Date: April 22, 2014                        Respectfully submitted,


                                            s/ Daniel M. Noland
Terrence M. Burns                           One of the Attorneys for Defendant,
Paul A. Michalik                            DANIEL BRANNIGAN
Daniel M. Noland
Dykema Gossett PLLC
10 South Wacker Drive
Suite 2300
Chicago, Illinois 60606
312.876.1700 (phone)
312.627.2302 (facsimile)




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 22, 2014, I electronically filed the foregoing Defendant

Brannigan’s Motion for Directed Verdict with the Clerk of the Court using the ECF system,

which sent electronic notification of the filing on the same day to:

H. Candace Gorman                                  Stephen L. Garcia
Adrian J. Bleifuss Prados                          Office of the Cook County State’s Attorney
Law Office of H. Candace Gorman                    500 Richard J. Daley Center
220 S. Halsted                                     Chicago, IL 60602
Suite 200                                          312.603.5475
Chicago, IL 60661                                  sgarcia@cookcountygov.com
312.427.2313
hcgorman1@gmail.com
ableifuss@gmail.com

and

Leonard C. Goodman
Melissa A. Matuzak
Law Offices of Leonard C. Goodman
53 W. Jackson
Suite 1220
Chicago, IL 60604
312.986.1984
lcgoodman@rcn.com
melissamatuzak@gmail.com




                                                   s/ Daniel M. Noland
